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CO 109A - Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

MONIQUE R. DAVIS

 

VS. Civil/Criminal No.; _19-CV-660 (APM)

WASHINGTON METROPOLITAN
AREA TRANSIT AUTHORITY

 

NOTE FROM JURY

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